   Case:Case
         18-1838   Document: 003112906818
             2:17-cv-05137-MMB  Document 31 Page:
                                             Filed 104/18/18
                                                        Date Filed:
                                                             Page 04/18/2018
                                                                    1 of 3


                                            OFFICE OF THE CLERK

 PATRICIA S. DODSZUWEIT              UNITED STATES COURT OF APPEALS
                                     21400 UNITED STATES COURTHOUSE               TELEPHONE
         CLERK
                                            601 MARKET STREET                      215-597-2995
                                        PHILADELPHIA, PA 19106-1790
                                         Website: www.ca3.uscourts.gov

                                                April 18, 2018


Matthew H. Haverstick, Esq.
Kleinbard
1650 Market Street
46th Floor
Philadelphia, PA 19103

Joshua J. Voss, Esq.
Kleinbard LLC
115 State Street
2nd Floor
Harrisburg PA 17101


RE: League of Women Voters of Penn, et al v. Commonwealth of Pennsylvania, et al
Case Number: 18-1838
District Case Number: 2-17-cv-05137


PACER account holders are required to promptly inform the PACER Service
Center of any contact information changes. In order to not delay providing
notice to attorneys or pro se public filers, your information, including address,
phone number and/or email address, may have been updated in the Third
Circuit database. Changes at the local level will not be reflected at PACER.
Public filers are encouraged to review their information on file with PACER and
update if necessary.

To All Parties:

Enclosed is case opening information regarding the above-captioned appeal filed by Joseph B.
Scarnati, docketed at No.18-1838. All inquiries should be directed to your Case Manager in
writing or by calling the Clerk's Office at 215-597-2995. This Court's rules, forms, and case
information are available on our website at http://www.ca3.uscourts.gov.

On December 1, 2009, the Federal Rules of Appellate and Civil Procedure were amended
modifying deadlines and calculation of time. In particular those motions which will toll the
time for filing a notice of appeal under Fed.R.App.P. 4(a)(4), other than a motion for
      Case:Case
            18-1838   Document: 003112906818
                2:17-cv-05137-MMB  Document 31 Page:
                                                Filed 204/18/18
                                                           Date Filed:
                                                                Page 04/18/2018
                                                                       2 of 3



attorney's fees under Fed.R.Civ.P. 54, will be considered timely if filed no later than 28
days after the entry of judgment. Should a party file one of the motions listed in
Fed.R.App.P 4(a)(4) after a notice of appeal has been filed, that party must immediately
inform the Clerk of the Court of Appeals in writing of the date and type of motion that was
filed. The case in the court of appeals will not be stayed absent such notification.

Counsel for Appellant

As counsel for Appellant(s), you must file:
1. Application for Admission (if applicable)
2. Appearance Form
3. Civil Information Statement
4. Disclosure Statement (except governmental entities)
5. Concise Summary of the Case
6. Transcript Purchase Order Form.
These forms must be filed within fourteen (14) days of the date of this letter.

Failure of Appellant(s) to comply with any of these requirements by the deadline will result
in the DISMISSAL of the case without further notice. 3rd Circuit LAR Misc. 107.2.

Counsel for Appellee

As counsel for Appellee(s), you must file:
1. Application for Admission (if applicable)
2. Appearance Form
3. Disclosure Statement (except governmental entities)
These forms must be filed within fourteen (14) days of the date of this letter.

Parties who do not intend to participate in the appeal must notify the Court in writing. This
notice must be served on all parties.

Attached is a copy of the full caption in this matter as it is titled in the district court. Please
review the caption carefully and promptly advise this office in writing of any discrepancies.

Very Truly Yours,
Patricia Dodszuweit, Clerk

By: Desiree,
Case Manager
267-299-4252

cc:
         Attorney General Pennsylvania
         Michael Churchill, Esq.
         Kathleen A. Gallagher, Esq.
         Benjamin D. Geffen, Esq.
      Case:Case
            18-1838   Document: 003112906818
                2:17-cv-05137-MMB  Document 31 Page:
                                                Filed 304/18/18
                                                           Date Filed:
                                                                Page 04/18/2018
                                                                       3 of 3



cc:      David P. Gersch, Esq.
         Michele D. Hangley, Esq.
         Daniel F. Jacobson, Esq.
         R. Stanton Jones, Esq.
         Clifford B. Levine, Esq.
         Mary M. McKenzie, Esq.
         Elisabeth S. Theodore, Esq.
